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8 UNITED STATES DISTRICT COURT l :§ §§
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9 FOR THE CENTR_AL DIS'I'RICT OF CALIFORNIA‘ 6 ‘
10 December 2007 Grand Jury
11 UNITED STATES OF AMERICA, ) CR 07- 07 01402
)
12 Plaintiff, ) l N Q l § l M § § I
)
13 v. ) [18 U.S.C. § 371: Conspiracy
) to Commit Mail Fraud and Wire
14 JOHN BELLINI, ) Fral.ld; 18 U.S.C. § 1341: Mail_
a/k/a “Pizza Man," ) Fraud; 18 U.S.C. § 1343: Wire
15 VAN WADE BEDFORD, ) Fraud; 18 U.S.C. § 2326:
a/k/a “Patch,” ) Telemarketing Fraud Against
16 a/k/a “Chad Orien,” ) the Elderly; 18 U.S.C. § 2:
a/k/a “Robert Knowles,” ) Aiding and Abetting and
17 a/k/a “Glen ROSS,” ) Causing an Act to be Done]
TANIA TCHOBANOVA IVANOVA, )
18 a/k/a “Anna," )
ALBERINO MAGI, )
19 a/k/a “Rino,” )
a/k/a “Robert Knowles,” )
20 a/k/a “Ron Anderson,” )
a/k/a “Glen ROSS,” )
21 a/k/a “Robert ROSS,” )
GEORGE CHRYSSANTHOPOULOS, )
22 a/k/a “Joker,” )
a/k/a “George the Greek,” )
23 a/k/a “Glen ROSS,” )
KEVIN SPENCER POWER, )
24 a/k/a “Redskin,” )
a/k/a “Eric Cole,” )
25 a/k/a “John Stewart,” )
a/k/a “Don Ellis,” )
26 a/k/a “Bob Stewart,” )
JOHN POWER, )
27 a/k/a “Bro,” )
28 EML:eml

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JEFFREY MORRIS JACOBSON,
a/k/a “Hotdog,”
a/k/a “Richard Bradley,”
a/k/a “Steven Harris,”
a/k/a “John Stuart,”
KENNETH GOUCHER,

RICHARD ALLEN GOODHEART,
JEREMIAH MOSHER,

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APRIL FRANCES MUIR,
a/k/a “Carole Saunders,”-
ARLENE GRUNDY,

` a/k/a “Holly White,”
LORD KOFI AGYAPONG MENSAH,
ALEXANDER ANDRIOPOULOS,

a/k/a “Jaguar Man,”
MARK DASH,
RAYME AURUM FREEDMAN,
PAUL IFEJEH,
a/k/a “Mr. P.,”
VIJAYAKUMAR RAMAKRISHNAN,
a/k/a “Vijay,”
JOHN FELIX ALEXANDER,

a/k/a “Africa,”
ADRIEN BASIL STEPHENSON, and
WALTER WUELFRATH,

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Defendants.
The Grand Jury Charges:
COUNT ONE
[18 U.S.C. §§ 371, 2326]
A. INTRODUCTION-

1. Beginning in or about at least the year 2004, and
Continuing through in or about December, 2006, defendants JOHN
BELLINI, also known as (“a/k/a”) “Pizza Man“ (“BELLINI”); VAN
WADE BEDFORD, a/k/a “Patch,” a/k/a “Chad Orien,” a/k/a “Robert

Knowles,” a/k/a “Glen Ross,” (“BEDFORD”); TANIA TCHOBANOVA
IVANOVA, a/k/a “Anna" (“IVANOV ”); ALBERINO MAGI, a/k/a “Rino,”

a/k/a “Robert Knowles," a/k/a “Ron Anderson,” a/k/a “Glen Ross,”

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in

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a/k/a “ROb€I`t ROSS" (“M.AGI"); GEORGE CHRYSSANTHOPOULOS, a/k/a
“Joker,” a/k/a “George the Greek,” a/k/a “Glen Ross”
(“CHRYSSANTHOPOULOS) ; KEVIN SPENCER POWER, a/k/a “RedSkil'l, " a/k/a
“Eric-Cole,” a/k/a “John Stewart,” a/k/a “Don Ellis,” a/k/a “Bob
§§§wart”,(“K-,POWERF)],JOHN POWER, a/k/a “Bro” (“J. POWER”);

JEFFREY MORRIS JACOBSON, a/k/a “HOT;dOg,” a/k/a “RiChard

 

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Bradley,” a/k/a “Steven Harris,” a/k/a “John Stuart”
(“JACOBSON"); KENNETH GOUCHER, a/k/a “K-man” (“GOUCHER”); RICHARD
ALLEN GOODHEART (“GOODHEART"),- JEREMIAH MOSHER, a/k/a “Gerry"
(“MOSHER”); APRIL FRANCES MUIR, a/k/a “Carole Saunders” (“MUIR”);
ARLENE GRUNDY, a/k/a “Holly White” (GRUNDY),~ LORD KOFI AGYAPONG
MENSAH (“MENSAH"); ALEXANDER ANDRIOPOULOS, a/k/a “Jaguar Man"
(“ANDRIOPOULOS”) ; MARK DASH (“DASH"); RAYME AURUM FREEDMAN
(‘lFREEDMAN"); PAUL lFEJEI-I, a/k/a “Mr. P.” (“IFEJEH”); VIJAYAKUMAR
R_AMAKRISHNAN, a/k/a “Vijay" (“VIJAY"); JOHN FELIX ALEXANDER,
a/k/a “Africa” (“ALEXANDER"); ADRIEN BASIL STEPHENSON
(“STEPHENSON"); and WALTER WUELFRATH (“WUELFRATH") , and Others
known and unknown to the Grand Jury, participated in and were
members of a fraudulent telemarketing organization that operated
at various locations in Montreal, Quebec, Canada, and other
locations in Canada and the United States, and that targeted
elderly individuals in Canada and in the United States, including
individuals in the Central District of California. Members of
the organization contacted victims, the majority of whom were
elderly, and falsely informed them that they had won a
substantial sum of money in a lottery or sweepstakes in order to
induce these victims to send money to the organization

purportedly to obtain their winnings. In truth and in fact, as

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the members of the telemarketing organization well knew, none of
the victims had won any money in a lottery or sweepstakes or
would receive any money from the telemarketing organization, and
the victims lost all of the money sent by the victims to the
telemarketing organization. rThe defendants took the victims'

money and used it for their own enjoyment.

 

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B. OBJECTS OF THE CONSPIRACY

2. Beginning on a date unknown to the Grand Jury and
continuing through in or about December 2006, in Los Angeles and
Orange Counties, within the Central District of California, and
elsewhere, defendants BELLINI, BEDFORD, IVANOVA, MAGI,
CHRYSSANTHOPOULOS, K. POWER, J. POWER, JACOBSON, GOUCHER,
GOODHEART/ MOSHER, MUIR, GRUNDY, MENSAH, ANDRIOPOULOS, DASH,
FREEDMAN, IFEJEH, RAMAKRISHNAN, ALEXANDER, STEPHENSON, and
WUELFRATH, together with others known and unknown to the Grand
Jury, knowingly combined, conspired, and agreed with each other
knowingly and intentionally to commit the following offenses
against the United States:

a. To commit mail fraud, in violation of Title`18,

United States Code, Section 1341;

b. To commit wire fraud, in violation of Title 18,
United States Code, Section 1343; and

c. To commit telemarketing fraud against the elderly,
in violation of Title 18, United States Code, Section 2326.

C. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
ACCOMPLISHED

3. The objects of the conspiracy were to be carried out

and accomplished, in substance, as follows:

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a. Defendants BELLINI, BEDFORD, IVANOVA, MAGI,
CHRYSSANTHOPOULOS, K. POWER, J. POWER, JACOBSON, GOUCHER,
GOODHEART, MOSHER, MUIR, GRUNDY, MENSAH, ANDRIOPOULOS, DASH,

FREEDMAN, IFEJEH, RAMAKRISHNAN, ALEXANDER, STEPHENSON, and

VE§§§ERATH! and others, committed telemarketing fraud against

mostly elderly victims in Canada and the United States, including

 

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victims located in the Central District of California.

b. Defendants BELLINI and IVANOVA would obtain
“leads,” that is, names and contact information of potential
victims in the United States and Canada, from defendant FREEDMAN.
Defendants BELLINI and IVANOVA would supply these leads to
telemarketers, including defendants BEDFORD, MAGI,
CHRYSSANTHOPOULOS, K. POWER, J. POWER, JACOBSON, GOUCHER,
GOODHEART, MOSHER, MUIR, GRUNDY, MENSAH, ANDRIOPOULOS, and DASH
(collectively, the “defendant telemarketers”). Working from the
leads, at the direction of defendant BELLINI, the defendant
telemarketers would contact victims and falsely inform them that
they had won a large sum of money in a sweepstakes or lottery.
As the defendants well knew, these representations were false and
fraudulent, as there was no sweepstakes or lottery, and the
victim called had not won any sum of money. Frequently, the
defendant telemarketers would identify themselves as attorneys;
as law enforcement personnel; or as Canadian, American, or
lottery-affiliated officials with authority to award money to, or
act as the intermediary for, the victim. As the defendants well
knew, these representations were also false and fraudulent, as
none of the defendant telemarketers was a government or law

enforcement official, was affiliated with a lottery or

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1 sweepstakes, was an attorney, or had any authority to act for the

2 victim.

3 c. When contacting victims, the defendant

4 telemarketers often used cellular telephones and SIM cards (also
nn5 called tho e chipsf) registered in false names, many of which

6 were supplied by defendant BELLINI.

7 d. The defendant telemarketers would falsely tell the

8 victims that, in order to collect their “winnings,” the victims

had to pay a sum of money, which the defendant telemarketers
falsely represented was for taxes, administrative fees,
insurance, legal fees, and other expenses that purportedly had to
be paid before the “winnings” could be sent to the victims. As
the defendants well knew, these representations were false and
fraudulent, as the victims had no reason to send money to the
telemarketing organization.

e. The defendant telemarketers often falsely informed
the victims that the victims were not permitted to disclose their
winnings to anyone, or they would forfeit those winnings. These
representations were false and fraudulent, as the victims had no
winnings to forfeit, and the secrecy requirement was a tactic
used by the defendant telemarketers to prevent the victims from
contacting anyone who might recognize that the promise of
winnings was false and convince the victims not to send money.

f. The defendant telemarketers often worked in groups
of two or more, playing different roles in an effort better to
convince the victims to send money. For example, when pitching a
particular victim, one of the defendant telemarketers might claim

to be from a particular lottery organization, and another of the

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defendant telemarketers would then claim to be the first
telemarketer's supervisor.

g. If a victim sent money, the defendant
telemarketers often recontacted that victim in order to convince
the victim to send more money. For example, one of the defendant

telemarketers would claim to be an attorney notifying the victim

 

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of supposed winnings. Once the victim sent'money,fanother”of'the
defendant telemarketers would speak to the same victim and claim
to be a courier who was about to deliver the winnings to the
victim, but needed an additional fee in order to do so. In
another example, one of the defendant telemarketers would falsely
inform a victim that the victim had won money, but first had to
send money to pay for taxes. Once the victim sent money, another
of the defendant telemarketers would call the same victim and
falsely inform that victim that the victim's winnings were even
larger, but would require a greater fee, and thus the victim had
to send additional money.

h. The defendant telemarketers used false names when
speaking to victims,

i. The defendant telemakreters, acting at the
direction of BELLINI and IVANOVA, would instruct the victims to
send the money for the purported expenses and fees mandated for
release of their winnings in a variety of ways:

(i) By wire transfer via Western Union or
MoneyGram, either in a name of the victim's choosing, or in a

name supplied by the defendant telemarketers;

 

 

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(ii) by mail or by commercial carrier, such as
Federal Express, to an address supplied by the defendant
telemarketers; or

(iii) by wire transfer from the victim's bank
account into a bank account supplied by the defendant
telemarketers.

j. When victims sent money to the telemarketing
organization, defendants BELLINI and IVANOVA arranged for that
money to be converted to cash for the benefit of the defendants,
in the following ways, among others:

(i) Defendants IFEJEH, STEPHENSON and WUELFRATH
operated MoneyGram counters. Defendants RAMAKRISHNAN and
ALEXANDER operated Western Union counters. Western Union and
MoneyGram are services that allow a person to transfer money to
another person virtually anywhere in the world. The sender puts
money into the system and provides for the money to be picked up
by the recipient. The recipient must provide photographic
identification and other information in order to obtain the
money.

(ii) When a victim sent money for the purported
expenses and fees through Western Union or MoneyGram to a
recipient chosen by the victim, the defendant telemarketer who
caused the transfer would inform defendants BELLINI and IVANOVA
of the information regarding the transfer. Defendants BELLINI
and IVANOVA would then contact defendants IFEJEH, STEPHENSON, or
WUELFRATH for MoneyGram transfers, and defendants RAMAKRISHNAN or
ALEXANDER for Western Union transfers, Defendants IFEJEH,

RAMAKRISHNAN, ALEXANDER, STEPHENSON, and WUELFRATH WOuld then

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retrieve the funds from the MoneyGram or Western Union system in
the form of cash, in contravention of the rules and policies of
MoneyGram and Western Union; would take a percentage of the funds
as a fee; and would provide the remaining funds to BELLINI and

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(iii) Defendants BELLINI and IVANOVA employed
individuals who acted as “runners” and whose job was to pick up
money sent by victims and deliver it to BELLINI and IVANOVA.
BELLINI and IVANOVA would supply the names of the runners to the
defendant telemarketers, who would instruct victims to wire money
through MoneyGram or Western Union in the name of the runner.

The runner would then obtain the money from the MoneyGram or
Western Union counters of defendants IFEJEH, RAMAKRISHNAN,
ALEXANDER, STEPHENSON, and WUELFRATH, who often acted in
contravention of numerous rules and policies of MoneyGram and
Western Union in connection with these transactions, would take a
percentage of the money as a fee, and would supply this money to
BELLINI and IVANOVA.

(iv) Defendants BELLINI and IVANOVA provided the
defendant telemarketers with various addresses in the area of
Montreal. These addresses belonged either to persons who were
paid for the use of their addresses, or to members of the
telemarketing organization. The defendant telemarketers provided
these addresses to the victims who sent their money via mail or
commercial carrier. Runners would then provide the money sent to
'BELLINI and IvANOVA.`

(v) Defendants BELLINI and IVANOVA provided the

defendant telemarketers with information regarding bank accounts

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that belonged to persons who were paid by BELLINI for the use of
these accounts. The defendant telemarketers provided the
information about these bank accounts to the victims, who then
sent their money via wire transfer from the victim's bank account
to the bank account of the person paid by BELLINI and IVANOVA.
BELLINI and IVANOVA would then obtain the money from the person
into whose account the money had been transferred.

k. Defendant BELLINI served as the organizer and
leader of the telemarketing organization, responsible for, among
other things, obtaining the equipment and facilities necessary
for the organization's operation; obtaining and providing leads;
obtaining and providing cellular telephones and telephone chips
for the defendant telemarketers to use in contacting victims;
arranging for the training of new members of the organization;
bringing teams of defendant telemarketers together to pitch
victims; providing for the collection of money sent by the
victims; and converting the checks obtained as a result of the
organization's fraudulent activities into Canadian dollars and
distributing those funds to himself and other members of the
organization.

l. Defendant IVANOVA served as defendant BELLINI’s
assistant, responsible for, among other things, coordinating
telemarketers, runners, and Western Union and MoneyGram receipts;

getting leads to telemarketers; calculating commissions for

telemarketers, runners, and MonyGram and Western Union personnel;
and obtaining and distributing cellular telephones and telephone
chips.

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m. Defendant FREEDMAN served as a lead supplier,
responsible for providing the telemarketing organization with
contact information regarding victims.

n. Defendants BEDFORD, MAGI, CHRYSSANTHOPOULOS, K.
POWER,WJ. POWER, J§co§sou{…soucn§};, GooDHEARjF, MOSHER, MUIR,
GRUNDY, MENSAH, ANDRIOPOULOS, and DASH acted as telemarketers,
responsible for contacting victims and recontacting victims, and
convincing them, through fraud and deceit, to send money to the
organization.

o. Defendants IFEJEH, RAMAKRISHNAN, ALEXANDER,
STEPHENSON, and WUELFRATH acted as MoneyGram and Western Union
contacts, responsible for informing BELLINI and others in the
organization when victim money became available through their
systems, taking the money out of the system in the form of cash,
and providing the money to defendant BELLINI.

p. Through the above-described conduct, defendants
BELLINI, BEDFORD, IVANOVA, MAGI, CHRYSSANTHOPOULOS, K. POWER, J.
POWER, JACOBSON, GOUCHER, GOODHEART, MOSHER, MUIR, GRUNDY,
MENSAH, ANDRIOPOULOS, DASH, FREEDMAN, IFEJEH, RAMAKRISHNAN,
ALEXANDER, STEPHENSON, and WUELFRATH caused hundreds of mostly
elderly victims in Canada and the United States to lose over $1
million.

C. O'\/'ERT ACTS

4. In furtherance of the conspiracy and to accomplish the
objects of the conspiracy, the above-named defendants, and others
known and unknown to the Grand Jury, committed, and willfully

caused others to commit, the following overt acts, among others,

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on or about the following dates, within the Central District of
California and elsewhere:

OVERT ACT 1. On July 30, 2004, victim B.P., in the
Central District of California, wire transferred money via
MoneVGram, which was received by defendantanEJEH{W:r ii

OVERT ACT 2. On August 3, 2005, a telemarketer, using
the name “Jack Gordon,” telephoned victim B.B., in the Central
District of California.

OVERT ACT 3. On August 30, 2005, a telemarketer,
purporting to be United States Customs representative “Doris,”
telephoned victim R.B., in the Central District of California.

OVERT ACT 4. On September 21, 2005, at the direction
of a telemarketer using the name “Jack Gordon,” who purported to
be with a company called “LKR Enterprises,” victim G.J. sent via
UPS a check to the home of defendant DASH.

OVERT ACT 5. On December 12, 2005, victim D.F., in
the Central District of California, wire transferred money via
Western Union, which was received by defendant ALEXANDER.

OVERT ACT 6. On May 2, 2006, victim N.L., in the
Central District of California, wire transferred money via
MoneyGram, which was received by defendant IFEJEH.

OVERT ACT 7. On August 6, 2006, a telemarketer
purporting to be Homeland Security representative “Ethan
Sherman,” telephoned victim M.R., in the Central District of
California.

OVERT ACT 8. On August 7, 2006, victim M.R., in the
Central District of California, wire transferred money to the

bank account of a runner working for defendant BELLINI.

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OVERT ACT 9. On August 10, 2006, victim M.P., in the
Central District of California, wire transferred money via
MoneyGram, which was received by defendant RAMAKRISHNAN.

OVERT ACT 10. On August 15, 2006, victim M.P., in the
Central District of California, wire transferred money via
MoneyGram, which was received by defendant RAMAKRISHNAN.

OVERT ACT 11. On August 16, 2006, victim M.P., in the
Central District of California, wire transferred money via
MoneyGram, which was received by defendant RAMAKRISHNAN.

OVERT ACT 12. On August 16, 2006, defendant DASH
collected money sent via Western Union by victim R.M., in thel
Central District of California.

OVERT ACT 13. On September 11, 2006, defendant DASH
attempted to collect money sent via Western Union by victim C.D.

OVERT ACT 14. On October 1, 2006, a defendant
telemarketer using the name “James Earl Peach,” telephoned victim
G.T., in the Central District of California.

OVERT ACT 15. On October 25, 2006, defendant BEDFORD
contacted defendant IVANOVA and supplied her with information
regarding the collection of money sent via Western Union by
victim A.B.

OVERT ACT 16. On OCtOber 25, 2006, defendant IVANOVA
contacted defendant RAMAKRISHNAN and supplied him with
information obtained from defendant BEDFORD regarding the
collection of money sent via Western Union by victim A.B.

OVERT ACT 17. On October 27, 2006, defendant BELLINI

contacted defendant JACOBSON and provided contact information for

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a victim with telephone number XXX-XXX-9311, provided by
defendant BEDFORD, who had recently sent $2,200.

OVERT ACT 18, On November 8, 2006, defendant JACOBSON,
using the name “Richard Bradley,” telephoned victim M.M., in the
Central District of §alifornia:… 77 7 in

OVERT ACT 19. On November 8, 2006, defendant K. POWER,
using the name “Don Ellis,” telephoned victim M.M; in the Central
District of California.

OVER'I` ACT 20. On November 11, 2006, defendant BELLINI
and defendant MENSAH had a telephone conversation regarding
another telemarketer.

OVERT ACT 21, On November 13, 2006, defendant BELLINI
contacted defendant IVANOVA, and handed his telephone to an
individual unknown to the Grand Jury, who supplied defendant
IVANOVA with information regarding the collection of money sent
by victim L.B. via Western Union.

OVERT ACT 22. On November 13, 2006, defendant BEDFORD
contacted defendant IVANOVA and supplied her with information
regarding the collection of money sent via MoneyGram by a victim
with telephone number XXX-XXX-4821.

OVERT ACT 23. On the November 13, 2006, defendant
IVANOVA contacted defendant IFEJEH and supplied him with
information regarding the collection of money sent via MoneyGram
by the victim with telephone number XXX-XXX-4821.

OVERT ACT 24. On November 14, 2006, defendant BELLINI
and defendant FREEDMAN had a telephone conversation regarding

telemarketing leads.

OVERT ACT 25. On November 14, 2006, defendant MENSAH

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contacted defendant BELLINI and supplied him with information
regarding money sent by wire transfer.

OVERT ACT 26. On November 14, 2006, victim I.D., in
the Central District of California, wire transferred money via
Western Union, which was received by defendant ALEXANDER. HWYWV

OVERT ACT 27. On November 14, 2006, defendant BELLINI
had a telephone conversation with defendant MUIR, discussing MUIR
working together with defendants CHRYSSOPOULOS, MENSAH, and
GOODHEART.

OVERT ACT 28. On November 15, 2006, defendant
JACOBSON, using the name “Richard Bradley,” and representing
himself to be from the company “Secure Core,” purportedly a
courier company responsible for the delivery of lottery winnings,
contacted victim L.B., and advised L.B. that although L.B. had
paid insurance and duties on his winnings, he also had to put up
a bond in the amount of $2,400 in order to receive his check.

OVERT ACT 29. On November 16, 2006, defendant BELLINI
had a telephone conversation with defendant MUIR regarding
working with defendants MOSHER and GRUNDY.

OVERT ACT 30. In November 2006, a telemarketer using
the name “Mr. Ross,” contacted victim H.H. and informed her that
she had won $1,950,000, but had to send $2,350 to cover the cost
of the insurance on her prize.

OVERT ACT 31. On November 16, 2006, defendant
CHRYSSANTHOPOULOS contacted defendant IVANOVA and supplied her

with information regarding the pickup of money sent via

MoneyGram.

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OVERT ACT 32. On November 16, 2006, defendant IVANOVA
contacted defendant IFEJEH and supplied him with information
regarding the pickup of money sent via MoneyGram.

OVERT ACT 33. On November 16, 2006, defendant IVANOVA
esntacted”defendantiSTEPHEN§QNWand supplied him with information
regarding the pickup of money sent via MoneyGram.

OVERT ACT 34. On or about November 16, 2006, defendant
IVANOVA contacted defendant BELLINI to report that both defendant
IFEJEH and defendant STEPHENSON were having difficulty retrieving
money sent by victim H.H.

OVERT ACT 35. On November 16, 2006, defendant
JACOBSON, using the name “Richard Bradley,” and claiming to be
from the firm of Cohen and Associates, contacted victim J.H. and
informed him that he had a check for J.H. in the amount of
$125,000, and that if J.H. was interested, “Bradley” would bring
the file to his accountant to complete the process.

OVERT ACT 36. On November 16, 2006, defendant K. POWER,
representing himself as “John Stewart” of Cohen and Associates,
contacted victim J.H. and told him that he had to send money in
order to receive his check.

OVERT ACT 37. On November 17, 2006, defendant MOSHER
contacted defendant BELLINI regarding money sent by victim D.M.,
wife of victim A.F.

OVERT ACT 38. Gn November 17, 2006, defendant IVANOVA
contacted defendant WUELFRATH and discussed the best way to
retrieve money sent by a victim with the telephone number XXX~

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OVERT ACT 39. On November 17, 2006, defendant IVANOVA
contacted defendant RAMAKRISHNAN and supplied him with
information regarding the pickup of money sent by Western Union.

OVERT ACT 40. On November 17, 2006, defendant IVANOVA
eentactedwdefendantnSTEPHENSON,and supplied him with information
regarding the collection of money sent via MoneyGram by the
victim with the telephone number XXX-XXX-4821.

OVERT ACT 41. On November 18, 2006, defendant MUIR
contacted defendant IVANOVA, and supplied her with information
regarding money sent via MoneyGram by a victim with the telephone
number XXX-XXX-4647.

OVERT ACT 42. On November 18, 2006, defendant MOSHER
contacted defendant IVANOVA and supplied her with information
regarding the pickup of money sent via Western Union by victim
A.F.

OVERT ACT 43. On November 21, 2006, defendant MOSHER
contacted defendant IVANOVA and supplied her with information
regarding the pickup of money sent via Western Union by victim
A.F.

OVERT ACT 44. On November 21, 2006, defendant J. POWER
contacted defendant K. POWER to discuss victim H.E., stating that
victim H,E. would not send any more money until he spoke with
“Mr. Stewart,” and that the balance victim H.E. had to pay in
order to receive his prize was $2,800.

OVERT ACT 45. On November 21, 2006, defendant J. POWER
contacted defendant IVANOVA to discuss which runner he should

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OVERT'ACT 46. On November 22, 2006, defendants BELLINI
and BEDFORD contacted defendant IVANOVA to provide information
regarding the collection of money sent via MoneyGram by the
victim with the telephone number XXX-XXX-4821.
iiini niin/',ERI,,,ZX.,.,C;L471vOn November 22, 2006, defendant BELLINl
and defendant FREEDMAN had a telephone conversation regarding
telemarketing leads.

OVERT ACT 48. On November 23, 2006, defendant
GOODHEART contacted BELLINI and supplied him with information
regarding the pickup of money sent via MoneyGram by victim M.L.

OVERT ACT 49. On November 23, 2006, defendant IVANOVA
contacted defendant STEPHENSON and supplied him with information
regarding the pickup of money sent via MoneyGram by a victim.

OVERT ACT 50. On November 24, 2006, defendant GOUCHER
contacted defendant GOODHEART and supplied him with information
regarding the pickup of money sent via MoneyGram by victim M.L.,
requesting that defendant GOODHEART provide the information to
defendant IVANOVA.

OVERT ACT 51. On November 24, 2006, defendant IVANOVA
contacted defendant IFEJEH and supplied him with information
regarding the pickup of money sent via MoneyGram by victim M.L.

OVERT ACT 52. On November 24, 2006, defendant GOUCHER
contacted defendant GOODHEART and provided information regarding
the pickup of money sent via MoneyGram by a victim.

OVERT ACT 53. On November 25, 2006, defendant IVANOVA
contacted defendant WUELFRATH and supplied him with information

regarding money sent via MoneyGram by a victim.

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OVERT ACT 54. On November 27, 2006, defendant MOSHER
contacted defendant IVANOVA and supplied her with information
regarding the pickup of money sent via Western Union by victim

A.F.

OVERT ACT 55. On December 4, 2006, a telemarketer

using the name “David Ross,” contacted victim N.H., in the
Central District of California, and informed her that she had won
$225,000, but had to pay $2,800 for the cost of the armored car
that would deliver her winnings.

OVERT ACT 56. On December 4, 2006, defendant BEDFORD
caused victim N.H., in the Central District of California, to
send $2,800 via MoneyGram.

OVERT ACT 57. On December 4, 2006, defendant BEDFORD
contacted defendant IVANOVA and supplied her with information
regarding the collection of money sent via MoneyGram by a victim.

OVERT ACT 58. On December 4, 2006, defendant IVANOVA
contacted defendant IFEJEH and supplied him with information
regarding the collection of money sent via MoneyGram by a victim.

OVERT ACT 59. On December 5, 2006, defendant MENSAH
and defendant MAGI had a telephone conversation regarding working
together.

OVERT ACT 60. On December 6, 2006, defendant
CHRYSSANTHOPOULOS contacted defendant BELLINI and laughed about
one of his victims, stating that “he has the worst case of
Alzheimer’s I've ever seen in my life,” to which defendant
BELLINI responded that defendant CHRYSSANTHOPOULOS was “a funny
fuck.”

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OVERT ACT 61. On December 7, 2006, defendant
CHRYSSANTHOPOULOS contacted defendant IVANOVA and supplied her
with information regarding the pickup of money sent via MoneyGram
by a victim with the telephone number XXX-XXX-3471.
igmn rrHWWQYEBTVB§TW62; On December 7, 2006, defendant IVANOVA

contacted defendant RAMAKRISHNAN, and supplied him with

'information regarding the pickup of money sent via MoneyGram by

the victim with the telephone number XXX-XXX-3471.

OVERT ACT 63. 0n December 12, 2006, defendant BELLINI
contacted defendant ANDRIOPOULOS and discussed contacting
Canadian victims.

OVERT ACT 64. On December 14, 2006, defendants BELLINI
and ANDRIOPOULOS contacted an uncharged telemarketer and
discussed training.

OVERT ACT 65. On December 14, 2006, defendant MAGI,
using the name “Robert Knowles,” contacted victim Mr. B., and
discussed why the victim had to send money in order to receive
his prize.

OVERT ACT 66. On December 16, 2006, defendant MAGI
contacted defendant BEDFORD, provided him with the name and
contact information for victim C.R. (telephone number XXX-XXX-
3471), and informed defendant BEDFORD that victim C.R. had
already sent $2,500 twice to cover the taxes on the prize; that
the names used to contact victim C.R. were “Glen Ross” and

“Robert Knowles”; and that defendant BEDFORD was to act as the

supervisor.

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OVERT ACT 67. On December 18, 2006, defendant BELLINI
contacted defendant MAGI and discussed whether MAGI would work

with defendants MUIR and GRUNDY.

OVERT ACT 68. On December 19, 2006, defendants IVANOVA

and MUIR possessed contact information and information regarding
mdney sent by the victim with the telephone numbeerXX-XXX;9311.

OVERT ACT 69. On December 19, 2006, defendant
CHRYSSANTHOPOULOS possessed a telephone chip containing the
telephone number XXX-XXX-9311.

OVERT ACT 70. On December 19, 2006, defendant
CHRYSSANTHOPOULOS possessed a cellular telephone containing a
record of calling the telephone number of victim C.R.

OVERT ACT 71. On December 19, 2006, defendants
JACOBSON and MUIR possessed contact information for victim L.B.

OVERT ACT 72. On December 19, 2006, defendant MUIR
possessed telemarketing leads.

OVERT ACT 73. On December 19, 2006, defendant MUIR
possessed contact information for victim C.R. with the note “I
called as Tom Ballan Driver,” and another note with the same
information as well as the pitch name “Glen Ross.”

OVERT ACT 74. On December 19, 2006, defendant GRUNDY
possessed a telemarketing lead in the name of victim J.W.

OVERT ACT 75. On December 19, 2006, defendant MENSAH
possessed telemarketing leads.

OVERT ACT 76. On December 19, 2006, defendant FREEDMAN

possessed approximately 1,300 telemarketing leads.

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OVERT ACT 77. On December 19, 2006, defendant FREEDMAN
possessed a telemarketing lead with the information of the victim
with telephone number XXX-XXX-4821.

OVERT ACT 78. On December 19, 2006, defendant IFEJEH

rpos§essed a MoneyGram transaction slip and payout record

associated with victim N.H.
OVERT ACT 79. On December 19, 2006, defendant

ALEXANDER possessed a Western Union transaction slip in the name

of victim A.F.
OVERT ACT 80. On December 19, 2006, defendants
STEPHENSON and WUELFRATH possessed a Moneygram receipt and a

transaction slip in the name of the victim with the telephone

number XXX-XXX-4821.

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COUNTS TWO AND THREE

[18 U.S.C. §§ 1341, 2326, 2]

C. INTRODUCTION

5. The Grand Jury hereby realleges and incorporates by

jreferencemparagraphs one and three of this Indictment.

D. THE SCHEME TO DEFRAUD

6. Beginning in or before 2004, and continuing until in or
about December 2006, in Los Angeles, Orange, Riverside, and San
Bernardino Counties, within the Central District of California,
and elsewhere, defendants BELLINI, BEDFORD, IVANOVA, MAGI,
CHRYSSANTHOPOULOS, K. POWER, J. POWER, JACOBSON, GOUCHER,
GOODHEART, MOSHER, MUIR, GRUNDY, MENSAH, ANDRIOPOULOS, DASH,
FREEDMAN, IFEJEH, RAMAKRISHNAN, ALEXANDER, STEPHENSON, and
WUELFRATH, together with others known and unknown to the Grand
Jury, knowingly and with the intent to defraud, devised,
participated in, and executed a scheme to defraud victims as to
material matters, and to obtain money and property from such
victims by means of material false and fraudulent pretenses,
representations, and promises, and the concealment of material
facts, in connection with and through the conduct of
telemarketing, and victimizing ten or more persons over the age
of 55 and targeting persons over the age of 55.

7. The scheme to defraud was executed by defendants
BELLINI, BEDFORD, lVANOVA, MAGI, CHRYSSANTHOPOULOS, K. POWER, J.
POWER, JACOBSON, GOUCHER, GOODHEART, MOSHER, MUIR, GRUNDY,
MENSAH, ANDRIOPOULOS, DASH, FREEDMAN, IFEJEH, RAMAKRISHNAN,
ALEXANDER, STEPHENSON, and WUELFRATH as set forth in paragraph

three of this lndictment.

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E. USE OF THE MAILS
8. On or about the dates set forth below, in Orange County,
within the Central District of California, and elsewhere,
defendants BELLINI, BEDFORD, IVANOVA, MAGI, CHRYSSANTHOPOULOS, K.
POWER, J. POWER, JACOBSON, GOUCHER, GOODHEART, MOSHER, MUIR,
GRUNDY, MENSAH, ANDRIOPOULOS, DASH, FREEDMAN, IFEJEH,
RAMAKRISHNAN, ALEXANDER, STEPHENSON, and WUELFRATH, for the
purpose of executing the above-described scheme to defraud, in
connection with and through the conduct of telemarketing, and
victimizing ten or more persons over the age of 55 and targeting
persons over the age of 55, willfully caused the following items
to be placed in an authorized depository for mail matter and to
be sent and delivered by the U.S. Postal Service and to be
deposited with and to be delivered by a private and commercial
carrier operating in interstate commerce, according to the
directions thereon:
COUNT DATE ITEM MAILED
TWO 07/27/05 Federal Express package containing a
cashier's check in the amount of $6,400,
sent by victim B.B., in Placentia,
California, USA, to LKR Enterprises, in
Montreal, Quebec, Canada
THREE 08/03/05 Federal Express package containing a
cashier's check in the amount of
$24,000, sent by victim B.B., in
Placentia, California, USA, to Lewis

Kramer Enterprises, in Montreal, Quebec,
Canada

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COUNTS FOUR THROUGH TWENTY-FIVE
[18 U.S.C. §§ 1343, 2326, 21
9. The Grand Jury hereby realleges and incorporates by
reference paragraphs one, three, six, and seven of this
Indictment.
§§ "'{isE' 61$7€%§2 EJ:RE'S
10. On or about the dates set forth below, in Los Angeles,
Orange, Riverside, and San Bernardino Counties, within the
Central District of California, and elsewhere, defendants
BELLINI, BEDFORD, IVANOVA, MAGI, CHRYSSANTHOPOULOS, K. POWER, J.
POWER, JACOBSON, GOUCHER, GOODHEART, MOSHER, MUIR, GRUNDY,
MENSAH, ANDRIOPOULOS, DASH, FREEDMAN, IFEJEH, RAMAKRISHNAN,
ALEXANDER, STEPHENSON, and WUELFRATH, for the purpose of
executing the above-described scheme to defraud, in connection
with and through the conduct of telemarketing, and victimizing
ten or more persons over the age of 55 and targeting persons over
the age of 55, willfully caused and aided and abetted the
transmission of the following by means of wire communication in
interstate and foreign commerce:
QQQHI ` QAI§ ITEM WIRED
FOUR 07/30/04 $4,500 wire transferred by
MoneyGram from victim B.P., in
Beaumont, California, USA, received
by defendant IFEJEH, in Montreal,
Quebec, Canada
FIVE . 08/03/05 Telephone call from a telemarketer
using the name “Jack Gordon,” from

Montreal, Quebec, Canada, to victim
B.B. in Placentia, California, USA

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08/07/06

08/10/06

08/15/06

08/16/06

ITEM WIRED

Telephone call from a defendant
telemarketer using the name
“Doris,” from Montreal, Quebec,
Canada, to victim R.B. in
Placentia, California, USA

$3,500 wire transferred by Western

'Union from victim D.F. in La

Crescenta, California, USA,
received by defendant ALEXANDER, in
Montreal, Quebec, Canada

$2,300 wire transferred by
MoneyGram from victim N.L. in Long
Beach, California, USA, received by
defendant IFEJEH in Montreal,
Quebec, Canada

Telephone call from a telemarketer
using the name “Ethan Sherman,”
from Montreal, Quebec, Canada, to
victim M.R. in Laguna Niguel,
California, USA

$12,310 wired from the bank account
of victim M.R. in Laguna Niguel,
California, USA, to a bank account
in the name of a runner for
defendant BELLINI, in Montreal,
Quebec, Canada

$2,500 wire transferred by
MoneyGram from victim M.P. in Los
Angeles, California, received by
defendant RAMAKRISHNAN in Montreal,
Quebec, Canada

$2,523 wire transferred by
MoneyGram from victim M.P. in Los
Angeles, California, USA, received
by defendant RAMAKRISHNAN in
Montreal, Quebec, Canada

$2,750 wire transferred by
MoneyGram transfer from victim M.P.
in Los Angeles, California, USA,
received by defendant RAMAKRISHNAN
in Montreal, Quebec, Canada

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10/05/06

ITEM WIRED

Telephone call from a defendant
telemarketer using the name “James
Earl Peach,” from Montreal, Quebec,
Canada, to victim G.T. in Los
Angeles, California, USA

$1,850 wire transferred by Western
Union from victim G.T. in Los
Angeles, California, received by a
runner for defendant BELLINI, in
Montreal, Quebec, Canada

$1,850 wire transferred by Western
Union from victim G.T. in Los
Angeles, California, received by a
runner for defendant BELLINI, in
Montreal, Quebec, Canada

$2,850 wire transferred by Western
Union from victim G.T. in Los
Angeles, California, received by a
runner for defendant BELLINI, in
Montreal, Quebec, Canada

$52,790.17 wire transferred from
the bank account of victim G.T. in
Los Angeles, California, USA, to a
bank account in the name of a
runner for defendant BELLINI, in
New York, New York, USA

$1,500 wire transferred by
MoneyGram from victim G.T. in Los
Angeles, California, received by
defendant IFEJEH, in Montreal,

-Quebec, Canada

Telephone call from defendant
JACOBSON using the name “Richard
Bradley,” from Montreal, Quebec,
Canada, to victim M.M. in Van Nuys,
California, USA

Telephone call from defendant K.
POWER, using the name “Don Ellis,”
from Montreal, Quebec, Canada, to
victim M.M. in Van Nuys,
California, USA

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COUNT DATE

TWENTY-Two 11/14/06

TWENTY-THREE 12/04/06

TWENTY-FOUR 12/04/06

TWENTY-FIVE 12/05/06

THOMAS P. O'BRIEN

Un` d States Attorney
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CHRISTINE C. EWELL

ITEM WIRED

$500 wire transferred by Western
Union from victim I.D. in Santa
Ana, California, USA, received by
defendant ALEXANDER in Montreal,
Quebec, Canada

Telephone call from a telemarketer

nusing,the name “David Ross,! from

Montreal, Quebec, Canada, to victim
N.H. in Menisee, California, USA

$2,800 wire transferred by
MoneyGram from victim N.H. in
Menisee, California, USA, received
by defendant IFEJEH, in Montreal,
Quebec, Canada

Telephone call from victim N.H. in

Menisee, California, USA, to “David
Ross,” in Montreal, Quebec, Canada

A TRUE BILL

Foreperson '

Assistant United States Attorney

Chief, Criminal Division

DOUGLAS A. AXEL

Assistant United States Attorney

Chief, Major Frauds Section

RANEE A. KATZENSTEIN

Assistant United States Attorney
Deputy Chief, Major Frauds Section

ELLYN MARCUS LINDSAY

Assistant United States Attorney

Major Frauds Section

 

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